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                        IN THE UNITIED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

 Nicholas N. Brown,                               ) C/A No. 2:25-cv-03343-DCN-MHC
                                                  )
                                       Plaintiff, )
                                                  )    DEFENDANTS TROOPER GREEN,
                      Versus                      )  SOUTH    CAROLINA DEPARTMENT OF
                                                  )  PUBLIC SAFETY, AND CHARLESTON
 Trooper Hunter Green individually and in his     )    COUNTY DETENTION CENTER’S
 official capacity; South Carolina Department     ) MOTION     FOR EXTENSION OF TIME TO
 of Public Safety (SCDPS); South Carolina         )   FILE RESPONSIVE PLEADINGS AND
 Department of Motor Vehicles (SCDMV);            )  RESPOND     TO PLAINTIFF’S PENDING
 Charleston County Detention Center,              ) MOTION FOR SUMMARY JUDGMENT
                                                  )
                                     Defendants. )

       COME NOW DEFENDANTS Trooper Hunter Green individually and in his official

capacity, South Carolina Department of Public Safety, and “Charleston County Detention Center”

(hereinafter collectively referred to as “these Defendants”), by and through their undersigned

attorneys, and move this Court for an Order pursuant to Local Civil Rule 6.01 extending the time

to June 6, 2025, for these Defendants to file an Answer to Plaintiff’s Complaint (ECF No. 1) or

otherwise plead, and respond to Plaintiff’s Motion for Summary Judgment (ECF No. 7). Pursuant

to Local Rule 7.04, a supporting memorandum is not required as a full explanation of the motion

is contained within this motion.

       The basis for these Defendants’ Motion for Extension of Time, is that the undersigned

counsel was recently retained to represent these Defendants, and these Defendants require

additional materials and information in order to prepare an answer to Plaintiff’s Complaint or

otherwise plead, as well as additional time to prepare a response to Plaintiff’s Motion for Summary

Judgment.



                                      [Signature on following page]
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       Respectfully submitted,



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                                                     s/ Jeffrey H. Lappin
                                                     Hugh W. Buyck (Fed. ID #6099)
                                                     Nina L. Savas (Fed ID # 14246)
                                                     Jeffrey H. Lappin (Fed. ID 13568)

                                                     Attorneys for Defendants Trooper Hunter
                                                     Green individually and in his official
                                                     capacity, South Carolina Department of
                                                     Public Safety, and “Charleston County
                                                     Detention Center”

May 9, 2025
Mt. Pleasant, South Carolina




                               CERTIFICATE OF SERVICE

                       I certify that on this date a copy of the foregoing was served
               on each party or counsel of record by        mailing,     emailing,
               e-filing, or      hand delivery in the manner prescribed by the
               applicable Rule of Civil Procedure.

               Copy mailed to:

                               Nicholas N. Brown
                               3128 Terry Drive
                               North Charleston, SC 29405

                                    This 9th day of May 2025.

                                        s/Jeffrey H. Lappin


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